                            UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                 NO: 1:18-cv-0091-WO-LPA


SHARON WHITEHEAD, Individually and                  §
as Executrix of the Estate of JAMES T.              §
WHITEHEAD, Deceased                                 §
                                                    §
         Plaintiff,                                 §
                                                    §
v.                                                  §
                                                    §
AIR & LIQUID SYSTEMS                                §
CORPORATION, individually and as                    §
successor-in- interest to BUFFALO PUMPS,            §
et al.                                              §
                                                    §
         Defendants.                                §


                       STIPULATION OF DISMISSAL OF
             DEFENDANT PABST BREWING COMPANY WITH PREJUDICE


            Pursuant to Rule 41 (a)(1) of the Federal Rules of Civil Procedure, Plaintiffs

     James T. Whitehead and Sharon Whitehead, by and through undersigned counsel, and

     with the consent of Defendant, Pabst Brewing Co., hereby stipulates and agrees to

     dismiss all claims against Defendant Pabst Brewing Co. only in the above-captioned

     action without prejudice. Each party shall bear its own attorney’s fees and costs.

     This 21st day of June 2019.



                                   (signatures on following page)




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WE MOVE:

/s/ Kevin W. Paul
Kevin W. Paul
Admitted Pro Hac Vice
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/s/William M. Graham
(signed w/ express permission Adam Sher)
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Attorneys for Plaintiff

WE CONSENT:

/s/ Adam J. Sher
Adam J. Sher
General Counsel
Pabst Brewing Company, LLC
10635 Santa Monica Blvd, Suite 350
Los Angeles, CA 90025




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                             CERTIFICATE OF SERVICE


       I hereby certify that on this date I electronically filed the foregoing Stipulation of

Dismissal as to Pabst Brewing Co., with the Clerk of Court using the CM/ECF

system which will send notification of such filing to all counsel of record in this case.

       This the 21st day of June 2019.

                                           /s/Kevin W. Paul
                                           Kevin W. Paul




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